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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                    ___________________

                                        No: 25-1884
                                    ___________________

 Womens Life Care Center, on behalf of itself and its patients; National Institute of Family and
Life Advocates,, (NIFLA), on behalf of itself, its member clinics whose interests are violated by
Minnesota law, and the patients of such member clinics; Dakota Hope Clinic, on behalf of itself
  and its patients; David Billings, MD, on behalf of himself and his patients; Dawn Schreifels,
                            MD, on behalf of herself and her patients

                                             Plaintiffs - Appellants

                                                v.

Keith M. Ellison, Attorney General, in his official capacity; Tim Walz, Governor, in his official
 capacity; Shireen Gandhi, Temporary Commissioner, Department of Human Services, in her
   official capacity; Planned Parenthood Minnesota, North Dakota, South Dakota, (PPMNS);
 Planned Parenthood North Central States, (PPNCS); Sarah A. Traxler, MD, in her capacity as
     Medical Director/Chief Medical Officer of PPMNS/PPNCS, and individually; Brooke
    Cunningham, Commissioner, Department of Health, in her official capacity; Pamela Gigi
Chawla, MD, MHA, President, Board of Medical Practice, in her official capacity; Ronda Maria
Chakolis-Hassan, PharmD, MPH, President, Board of Pharmacy, in her official capacity; Access
  Independent Health Services, Inc., doing business as Red River Womens Clinic; Kathryn L.
   Eggleston, MD, in her capacity as Medical Director of Red River, and individually; Jessica
      Miehe, DNP, RN, President, Board of Nursing, in her official capacity; Tikki Brown,
      Commissioner, Department of Children, Youth, and Families, in her official capacity

                                             Defendants - Appellees

            Laura Elseth, LPN, President, Board of Nursing, in her official capacity

                                        Defendant
______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:24-cv-04250-NEB)
______________________________________________________________________________

                                         JUDGMENT


Before SHEPHERD and KELLY, Circuit Judges.


       The motion of appellees for dismissal of this appeal is granted. The appeal is hereby

dismissed. See Eighth Circuit Rule 47A(b).


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       The motions for leave to file an overlength brief and to vacate the District Court’s order

dated June 2, 2025 are denied as moot.

                                                     June 18, 2025




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




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